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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       )   DECLARATION OF KATHERINE TREFZ IN
16                                           )   SUPPORT OF MS. HOLMES’ SENTENCING
       v.                                    )   MEMORANDUM
17                                           )
     ELIZABETH HOLMES and                    )
18   RAMESH “SUNNY” BALWANI,                 )   Hon. Edward J. Davila
                                             )
19          Defendants.                      )
                                             )
20                                           )
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     DECLARATION OF KATHERINE TREFZ
     CR-18-00258-EJD
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 1          I, KATHERINE TREFZ, declare as follows:

 2          1.     I represent Defendant Elizabeth Holmes and am a member of the Bar of this Court.

 3 Pursuant to Criminal Local Rule 56-1(c) and Civil Local Rule 7-11, I submit this declaration in support

 4 of Ms. Holmes’ Sentencing Memorandum.

 5          2.     Attached as Exhibit A is a true and correct copy of a collection of letters addressed to the

 6 Court submitted in support of Ms. Holmes. (A redacted version is being filed publicly. An unredacted

 7 version is being filed under seal.)

 8          3.     Attached as Exhibit B is a true and correct copy of U.S. Patent No. 11,385,252 B2, issued

 9 by the United States Patent and Trademark Office on July 12, 2022.

10          4.     Attached as Exhibit C is a true and correct copy of a letter from Ms. Holmes to her

11 parents written when Ms. Holmes was in high school

12          5.     Attached as Exhibit D is a true and correct copy of a handwritten note written by Ms.

13 Holmes’ father dated October 16, 2003.

14          6.     Attached as Exhibit E is a true and correct copy of a handwritten letter written from Ms.

15 Holmes’ father to her dated January 4, 2004.

16          7.     Attached as Exhibit F is a true and correct copy of a photo of Sunny Balwani, Ms.

17 Holmes, and another individual taken in China in August 2002.

18          8.     Attached as Exhibit G is a true and correct copy of document bearing the Bates label

19 PC0000001 through PC0000047, as produced by Perkins Coie LLP. The redactions appeared in the

20 produced version.

21          9.     Attached as Exhibit H is a true and correct copy of an email dated May 8, 2018, from

22 David Taylor to Erez Levy, cc’ing Elizabeth Holmes and Jeffrey Finger, and its attachment.

23          10.    Attached as Exhibit I is a true and correct copy a document bearing the Bates labels

24 Dynasty003466 through Dynasty003475.

25          11.    Attached as Exhibit J is a true and correct copy of a document bearing the Bates labels

26 SEC-DEPO-004639 through SEC-DEPO-004704.

27          12.    Attached as Exhibit K is a true and correct copy of excerpts of the deposition of Fortress

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 1          21.    Attached as Exhibit T is a true and correct copy of excerpts of Ms. Holmes’ testimony in

 2 the SEC investigation.

 3          22.    Attached as Exhibit U is a true and correct copy of an email dated June 7, 2015 from

 4 Ryan Karpel to Elizabeth Holmes, copying Daniel Edlin, and its attachments. Patient names have been

 5 redacted.

 6          23.    Attached as Exhibit V is a true and correct copy of an email dated March 15, 2015 from

 7 Ryan Karpel to Elizabeth Holmes, copying Daniel Edlin, and its attachments. Patient names have been

 8 redacted.

 9          24.    Attached as Exhibit W is a true and correct copy of an email dated August 23, 2015 from

10 Ryan Karpel to Elizabeth Holmes, copying Daniel Edlin, and its attachments. Patient names have been

11 redacted.

12          25.    Attached as Exhibit X is a true and correct copy of

13                                                                                          . (Filed under

14 seal.)

15          26.    Attached as Exhibits Y-1 and Y-2 are true and correct copies of a screen capture of

16 results of the United States Sentencing Commission’s Interactive Data Analyzer titled “Sentence

17 Imposed Relative to the Guideline Range Over Time” for fiscal years 2015-2021. Based on the filters

18 used, this data reflects the Sentencing Commission’s data for the North District of California where the

19 primary guideline was § 2B1.1. Exhibit Y-1 includes all criminal history categories, while Exhibit Y-2

20 includes only criminal history category I.

21          27.    Exhibit Z is a true and correct copy of a screen capture of results of the United States

22 Sentencing Commission’s Interactive Data Analyzer titled “Average and Median Sentence Length” and

23 “Average and Median Imprisonment Length” for fiscal years 2015-2021. Based on the filters used, this

24 data reflects the Sentencing Commission’s data for the Northern District of California where the primary

25 guideline was § 2B1.1, the sentencing zone was Zone D, and the criminal history category was I.

26          28.    Exhibits AA-1 and AA-2 are true and correct copies of screen captures of results of the

27 United States Sentencing Commission’s Interactive Data Analyzer titled “Sentence Imposed Relative to

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 1 the Guideline Range Over Time” for fiscal years 2015-2021. Based on the filters used, this data reflects

 2 the Sentencing Commission’s data for cases nationwide where the primary guideline was § 2B1.1.

 3 Exhibit AA-1 includes all criminal history categories, while Exhibit AA-2 includes only criminal history

 4 category I.

 5         29.     Exhibit BB is a true and correct copy of a screen capture of results of the United States

 6 Sentencing Commission’s Interactive Data Analyzer titled “Average and Median Sentence Length” and

 7 “Average and Median Imprisonment Length” for fiscal years 2015-2021. Based on the filters used, this

 8 data reflects the Sentencing Commission’s data for cases nationwide where the primary guideline was §

 9 2B1.1, the sentencing zone was Zone D, and the criminal history category was I.

10         I declare under penalty of perjury under the laws of the United States that the foregoing is true

11 and correct to the best of my knowledge.

12         Executed this 10th day of November 2022 in Washington, D.C.

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15
                                                         KATHERINE TREFZ
16                                                       Attorney for Elizabeth Holmes

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28 DECLARATION OF KATHERINE TREFZ
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